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                                                                                    May 20, 2022




          VIA ECF
          Magistrate Judge Tonianne J. Bongiovanni
          United States District Court
          District of New Jersey
          Clarkson S. Fisher Building & U.S. Courthouse
          402 East State Street
          Trenton, NJ 08608

                                                Re:            Martinez Lopez et al v. GDB International, Inc.
                                                               Case No: 3:21-cv-05923-MAS-TJB

          Dear Judge Bongiovanni:

                 We represent Defendant GDB International, Inc. (“GDB International”) in the above-
          captioned matter and submit this joint status letter with counsel for Plaintiffs.

                 The parties write at your request to provide a status report on the above-referenced
          matter. The Fair Labor Standards Act opt-in period ended last week and the parties have received
          an update from the claim’s administrator indicating that it was able to deliver all notices other than
          a few that were undeliverable. The parties would now like to schedule a settlement conference
          with the Court in an effort to resolve all claims. Please let us know the most efficient way to work
          with your Honor’s chambers to schedule a settlement conference. Thank you.

                       We thank the Court for its consideration of the foregoing.

                                                                                    Respectfully submitted,

                                                                                    /s/ William J. Anthony

                                                                                    William J. Anthony

          cc:          Counsel of record (via ECF)




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